  Case 2:19-cv-01079-MHT-CWB    Document 13     Filed 09/21/22   Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MARCUS STEFONE McNEAL,     )
                           )
     Plaintiff,            )
                           )                    CIVIL ACTION NO.
     v.                    )                     2:19cv1079-MHT
                           )                          (WO)
AMERICAN CREDIT ACCEPTANCE )
LLC, et al.,               )
                           )
     Defendants.           )

                               JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The       United            States      Magistrate          Judge's

recommendation (Doc. 11) is adopted.

    (2) This lawsuit is dismissed without prejudice for

failure to prosecute.

    No costs are taxed.

    The clerk of the court is DIRECTED to enter this

document   on   the    civil        docket     as   a   final      judgment

pursuant   to   Rule   58      of    the     Federal    Rules     of    Civil
  Case 2:19-cv-01079-MHT-CWB   Document 13   Filed 09/21/22   Page 2 of 2




Procedure.

    This case is closed.

    DONE, this the 21st day of September, 2022.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
